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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

  CHROMADEX, INC. and TRUSTEES )
  OF DARTMOUTH COLLEGE,        )
                               )
                               )                   C.A. No. 18-1434-CFC
               Plaintiffs,     )
                               )
      v.                       )
                               )
  ELYSIUM HEALTH, INC.,        )
                               )
               Defendant.      )

    ELYSIUM HEALTH’S MOTION FOR SUMMARY JUDGMENT (NO. 3)
               OF INVALIDITY UNDER 35 U.S.C. § 112

           Elysium Health, Inc. (“Elysium”) hereby respectfully moves for summary

  judgment, pursuant to Rule 56 of the Federal Rules of Civil Procedure, that claims

  1-3 of U.S. Patent No. 8,197,807 and claim 2 of U.S. Patent No. 8,383,086 are

  invalid under 35 U.S.C. § 112.

           In support of this Motion, Elysium relies upon the accompanying Opening

  Brief, the accompanying Statement of Facts, the exhibits attached to the

  accompanying Declaration of Marco J. Quina, and the pleadings and other filings

  of record in this matter.




  {01683199;v1 }
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   Dated: April 27, 2021




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